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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA
v.

EDWARD CONSTANTINESCU,
PERRY “PJ” MATLOCK,                                    No. 4:22-CR-00612
JOHN RYBARCZYK,
GARY DEEL,
STEFAN HRVATIN,
TOM COOPERMAN,
MITCHELL HENNESSEY,
DANIEL KNIGHT.

          [PROPOSED] ORDER GRANTING DEFENDANTS’ UNOPPOSED
        MOTION FOR CONTINUANCE AND TO CERTIFY CASE AS COMPLEX

        ON THIS DAY, the Court considered Joint Defendants’ Unopposed Motion for

Continuance and to Certify Case as Complex pursuant to 18 U.S.C § 3161(h). Having fully

considered same and all arguments of counsel in support thereof, the Court is of the opinion that

good cause exists to grant Joint Defendants’ Motion. It is hereby ORDERED:

     1. All deadlines in the present scheduling orders as to Defendants Constantinescu, Matlock,
        Rybarczyk, and Knight are continued,

     2. The deadline with respect to the time for Joint Defendants file a Motion for Bill of
        Particulars is continued, and

     3. This case is hereby certified as “complex” within the meaning of 18 U.S.C §
        3161(h)(7)(B)(ii), such that the continuance of motion deadlines, pretrial proceedings, and
        the date of the trial itself is continued for an unspecified amount of time.


Signed on this _____ day of _________, 2022
                                                                  __________________________
                                                                             JUDGE PRESIDING
